                 Case 1:14-cr-00141-LJO-BAM
                                 IN THE UNITEDDocument 102 Filed
                                               STATES DISTRICT   10/29/15 Page 1 of 1
                                                               COURT
                                             EASTERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA,

                                Plaintiff,

                        v.                                CR NO: 1:14-CR-00141 AWI-BAM

VERONDA CREASY

                               Defendant.


                                  APPLICATION FOR WRIT OF HABEAS CORPUS
               The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                          ☒ Ad Prosequendum                                   ☐ Ad Testificandum
Name of Detainee:      VERONDA CREASY
Detained at            Fresno County Jail
Detainee is:           a.)    ☐ charged in this district by: ☒ Indictment ☐ Information ☐ Complaint
                                charging detainee with:
                  or   b.)    ☐ a witness not otherwise available by ordinary process of the Court

Detainee will:         a.)      ☒ return to the custody of detaining facility upon termination of proceedings
                  or   b.)      ☐ be retained in federal custody until final disposition of federal charges, as a sentence
                                 is currently being served at the detaining facility

  Appearance is necessary [FORTHWITH] or [on November 2, 2015, 10:00 a.m.] in the Eastern District of California.

                       Signature:                               /s/ Melanie L. Alsworth
                       Printed Name & Phone No:                 MELANIE L. ALSWORTH (559) 497-4098
                       Attorney of Record for:                  United States of America

                                             WRIT OF HABEAS CORPUS
                             ☐ Ad Prosequendum                   ☒ Ad Testificandum

         The above application is granted and the above-named custodian, as well as the United States Marshal's Service
for this district, is hereby ORDERED to produce the named detainee, [FORTHWITH] or [on November 2, 2015 at
10:00 a.m.], and any further proceedings to be had in this cause, and at the conclusion of said proceedings to return said
detainee to the above-named custodian.
Dated:      October 29, 2015                                      /s/      Barbara A. McAuliffe
                                                           Honorable Barbara A. McAuliffe
                                                           U.S. MAGISTRATE JUDGE

Please provide the following, if known:
AKA(s) (if                                                                                 ☐Male      ☒Female
Booking or CDC #:       1524273                                                            DOB:
Facility Address:                                                                          Race:
Facility Phone:                                                                            FBI#:
Currently

                                                   RETURN OF SERVICE
Executed on:
                                                             (signature)
